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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )      CRIMINAL ACTION NO.
                                   )        2:94cr62-MHT
RONALD LANDER                      )             (WO)

                              OPINION

    Pursuant to U.S.S.G. Amendment 505, defendant Ronald

Lander,   a   federal    inmate,       filed    a   motion   seeking    a

sentence reduction.       The motion is now before the court

on the recommendation of the United States Magistrate

Judge that the motion be denied.               Also before the court

are Lander’s objections to the recommendation.                After an

independent and de novo review of the record, the court

concludes that Lander’s objections should be overruled

and the magistrate judge’s recommendation adopted.

    An appropriate judgment will be entered.

    DONE, this the 7th day of December, 2007.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
